                                                  Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 1 of 26


                                           1    William P. Donovan, Jr. (SBN 155881)
                                                MCDERMOTT WILL & EMERY LLP
                                           2    wdonovan@mwe.com
                                                2049 Century Park East, Suite 3200
                                           3    Los Angeles, CA 90067-3206
                                                Telephone: (310) 277-4110
                                           4    Facsimile: (310) 277-4730
                                           5    Joshua B. Simon*
                                                jsimon@mwe.com
                                           6    Warren Haskel*
                                                whaskel@mwe.com
                                           7    Dmitriy Tishyevich (SBN 275766)
                                                dtishyevich@mwe.com
                                           8    John J. Song*
                                                jsong@mwe.com
                                           9    Chelsea Cosillos*
                                                ccosillos@mwe.com
                                           10   MCDERMOTT WILL & EMERY LLP
                                                One Vanderbilt Avenue
                                           11   New York, NY 10017-3852
MCDERMOTT WILL & EMERY LLP




                                                Telephone: (212) 547-5400
                                           12   Facsimile: (212) 547-5444
                        ATTORNEYS AT LAW




                                                *Admitted Pro Hac Vice
                          LOS ANGELES




                                           13
                                                Attorneys for Defendants
                                           14   The Cigna Group (f/k/a Cigna Corporation) and
                                                Cigna Health and Life Insurance Company
                                           15
                                                                           UNITED STATES DISTRICT COURT
                                           16
                                                                          EASTERN DISTRICT OF CALIFORNIA
                                           17
                                                SUZANNE KISTING-LEUNG, SAMANTHA                 Case No. 2:23-cv-01477-DAD-KJN
                                           18   DABABNEH, RANDALL RENTSCH, and
                                                CHRISTINA THORNHILL, individually and on        CIGNA’S NOTICE OF MOTION AND
                                           19   behalf of all other similarly situated,         MOTION TO DISMISS THE SECOND
                                                                                                AMENDED CLASS ACTION
                                           20                       Plaintiffs,                 COMPLAINT; MEMORANDUM OF
                                                                                                POINTS AND AUTHORITIES
                                           21         v.
                                                                                                Date:    June 4, 2024
                                           22   CIGNA CORPORATION, CIGNA HEALTH                 Time:    1:30 P.M.
                                                AND LIFE INSURANCE COMPANY, and                 Judge    Hon. Dale A. Drozd
                                           23   DOES 1 through 50, inclusive,                   Courtroom: 4, 15th floor
                                                                                                Second Am. Compl. Filed: December 18, 2023
                                           24                       Defendants.
                                           25

                                           26

                                           27

                                           28


                                                 CIGNA’S NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                 CASE NO. 2:23-CV-01477-DAD-KJN
                                                  Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 2 of 26


                                           1           PLEASE TAKE NOTICE that on June 4, 2024 at 1:30 p.m. (or as soon thereafter as the matter

                                           2    may be heard in Courtroom 4, 15th Floor of the above-entitled Court), The Cigna Group (f/k/a Cigna

                                           3    Corporation) and Cigna Health and Life Insurance Company (together, “Cigna” or “Defendants”) will

                                           4    move the Court for an for an order dismissing the Second Amended Complaint of Plaintiffs Suzanne

                                           5    Kisting-Leung, Samantha Dababneh, Randall Rentsch, and Cristina Thornhill, pursuant to Federal

                                           6    Rules of Civil Procedure 9(b), 12(b)(1), and 12(b)(6). The Motion is based on this Notice of Motion

                                           7    and Motion to Dismiss, the accompanying Memorandum of Points and Authorities, argument of

                                           8    counsel, and other such matters as the Court may consider.

                                           9
                                                Dated: February 1, 2024                Respectfully submitted,
                                           10

                                           11                                          By:      /s/ Dmitriy Tishyevich
MCDERMOTT WILL & EMERY LLP




                                                                                               Dmitriy Tishyevich
                                           12
                        ATTORNEYS AT LAW




                                                                                               Joshua B. Simon (admitted pro hac vice)
                          LOS ANGELES




                                           13                                                  Warren Haskel (admitted pro hac vice)
                                                                                               Dmitriy Tishyevich (SBN 275766)
                                           14                                                  John J. Song (admitted pro hac vice)
                                                                                               Chelsea Cosillos (admitted pro hac vice)
                                           15                                                  jsimon@mwe.com
                                                                                               whaskel@mwe.com
                                           16                                                  dtishyevich@mwe.com
                                                                                               jsong@mwe.com
                                           17                                                  ccosillios@mwe.com
                                                                                               MCDERMOTT WILL & EMERY LLP
                                           18                                                  One Vanderbilt Avenue
                                                                                               New York, NY 10017-3852
                                           19                                                  Telephone: (212) 547-5400
                                                                                               Facsimile: (212) 547-5444
                                           20
                                                                                               William P. Donovan, Jr. (SBN 155881)
                                           21                                                  MCDERMOTT WILL & EMERY LLP
                                                                                               wdonovan@mwe.com
                                           22                                                  2049 Century Park East, Suite 3200
                                                                                               Los Angeles, CA 90067-3206
                                           23                                                  Telephone: (310) 277-4110
                                                                                               Facsimile: (310) 277-4730
                                           24                                                  wdonovan@mwe.com
                                           25                                                  Attorneys for Defendants The Cigna Group
                                                                                               (f/k/a Cigna Corporation) and Cigna Health and
                                           26                                                  Life Insurance Company
                                           27

                                           28

                                                                                                -1-
                                                 CIGNA’S NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                 CASE NO. 2:23-CV-01477-DAD-KJN
                                                   Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 3 of 26


                                           1                                                          TABLE OF CONTENTS

                                           2    INTRODUCTION .................................................................................................................................1

                                           3    FACTUAL BACKGROUND ................................................................................................................3

                                           4                         A.         Overview of Plaintiffs’ Allegations. ..................................................................3

                                           5                         B.         Cigna’s PxDx Claims Review Process, and Plaintiffs’ Lack of Showing
                                                                                of Any Plan Breach. ...........................................................................................4
                                           6
                                                ARGUMENT .........................................................................................................................................7
                                           7
                                                          I.         Plaintiffs Kisting-Leung and Thornhill Lack Article III Standing Because Their
                                           8                         Claims Were Not Denied Through PxDx. .....................................................................7

                                           9              II.        The Contract, Quasi-Contract, and Intentional Interference with Contract
                                                                     Claims (First, Third, Fourth and Fifth Causes of Action) Should All Be
                                           10                        Dismissed. ......................................................................................................................8

                                           11                        A.         The Claim for Breach of the Implied Covenant of Good Faith and Fair
MCDERMOTT WILL & EMERY LLP




                                                                                Dealing (First Cause of Action) Should Be Dismissed. ....................................8
                                           12
                        ATTORNEYS AT LAW




                                                                     B.         The Intentional Interference with Contractual Relations Claim (Third
                          LOS ANGELES




                                           13                                   Cause of Action) Should Be Dismissed. ............................................................9

                                           14                        C.         The Unjust Enrichment Claim (Fourth Cause of Action) Should Be
                                                                                Dismissed. ........................................................................................................10
                                           15
                                                                     D.         The Breach of Contract Claim (Fifth Cause of Action) Should Be
                                           16                                   Dismissed. ........................................................................................................11

                                           17             III.       Plaintiffs’ California UCL Claim (Second Cause of Action) Should Be
                                                                     Dismissed. ....................................................................................................................12
                                           18
                                                                     A.         Plaintiffs Fail To Plead Count II With Particularity Under Rule 9(b). ............12
                                           19
                                                                     B.         Plaintiffs Fail To Plausibly Plead a UCL Claim Under Rule 8. ......................14
                                           20
                                                          IV.        ERISA Preempts Plaintiffs’ State-Law Claims. ..........................................................16
                                           21
                                                CONCLUSION ....................................................................................................................................18
                                           22

                                           23

                                           24

                                           25

                                           26

                                           27

                                           28

                                                                                                                       -i-
                                                 CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                 CASE NO. 2:23-CV-01477-DAD-KJN
                                                   Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 4 of 26


                                           1                                                     TABLE OF AUTHORITIES
                                           2                                                                                                                                        Page(s)
                                           3    Cases
                                           4
                                                Adtrader, Inc. v. Google LLC,
                                           5       2018 WL 3428525 (N.D. Cal. July 13, 2018) ..........................................................................10

                                           6    Aerojet Rocketdyne, Inc. v. Glob. Aerospace, Inc.,
                                                   2020 WL 3893395 (E.D. Cal. July 10, 2020) ..........................................................................14
                                           7
                                                Aetna Health Inc. v. Davila,
                                           8       542 U.S. 200 (2004) .....................................................................................................16, 17, 18
                                           9    In re Ambry Genetics Data Breach Litig.,
                                           10       567 F. Supp. 3d 1130 (C.D. Cal. 2021) ...................................................................................11

                                           11   Ashcroft v. Iqbal,
MCDERMOTT WILL & EMERY LLP




                                                   556 U.S. 662 (2009) .................................................................................................................16
                                           12
                        ATTORNEYS AT LAW




                                                Brodsky v. Apple Inc.,
                          LOS ANGELES




                                           13      445 F. Supp. 3d 110 (N.D. Cal. 2020) .....................................................................................10
                                           14   Caraccioli v. Facebook, Inc.,
                                           15      167 F. Supp. 3d 1056 (N.D. Cal. 2016), aff'd, 700 F. App'x 588 (9th Cir. 2017) ...................11

                                           16   Cleghorn v. Blue Shield of Cal.,
                                                   408 F.3d 1222 (9th Cir. 2005) .................................................................................................18
                                           17
                                                Egelhoff v. Egelhoff ex rel. Breiner,
                                           18      532 U.S. 141 (2001) .................................................................................................................17
                                           19   Fresno Motors, LLC v. Mercedes Benz USA, LLC,
                                                   771 F.3d 1119 (9th Cir. 2014) ...................................................................................................9
                                           20

                                           21   Gilliland v. Chase Home Fin., LLC,
                                                    2014 WL 325318 (E.D. Cal. Jan. 29, 2014) ..............................................................................9
                                           22
                                                Gobeille v. Liberty Mut. Ins. Co.,
                                           23      577 U.S. 312 (2016) .................................................................................................................17
                                           24   Gonzaba v. Bd. of Trs. of S. Cal. Const. Laborers,
                                                   2013 WL 1694602 (S.D. Cal. Apr. 18, 2013) ..........................................................................17
                                           25
                                                Great Pac. Sec. v. Barclays Cap., Inc.,
                                           26
                                                   743 F. App’x 780 (9th Cir. July 30, 2018) ..............................................................................13
                                           27
                                                Hadley v. Kellogg Sales Co.,
                                           28      243 F. Supp. 3d 1074 (N.D. Cal. 2017) ...................................................................................16

                                                                                                                   - ii -
                                                 CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                 CASE NO. 2:23-CV-01477-DAD-KJN
                                                   Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 5 of 26


                                           1    Height St. Skilled Care, LLC v. Liberty Mut. Ins. Co.,
                                                   2022 WL 1665220 (E.D. Cal. May 25, 2022) .........................................................................14
                                           2
                                                Hunt v. Zuffa, LLC,
                                           3
                                                   2021 WL 4355728 (9th Cir. Sept. 24, 2021) ...........................................................................10
                                           4
                                                Kearns v. Ford Motor Co.,
                                           5       567 F.3d 1120 (9th Cir. 2009) ...........................................................................................12, 13

                                           6    Lopez v. Stages of Beauty, LLC,
                                                   307 F. Supp. 3d 1058 (S.D. Cal. 2018) ................................................................................1, 16
                                           7
                                                Meridian Treatment Servs. v. United Behav. Health,
                                           8       2020 WL 7000073 (N.D. Cal. July 20, 2020) ............................................................................9
                                           9
                                                Miller v. Taryle,
                                           10      2013 WL 12205851 (C.D. Cal. Sept. 10, 2013) ......................................................................14

                                           11   Pilot Life Ins. Co. v. Dedeaux,
MCDERMOTT WILL & EMERY LLP




                                                    481 U.S. 41 (1987) .............................................................................................................17, 18
                                           12
                        ATTORNEYS AT LAW




                                                Plastino v. Wells Fargo Bank,
                          LOS ANGELES




                                           13      873 F. Supp. 2d 1179 (N.D. Cal. 2012) .................................................................................8, 9
                                           14
                                                PM Grp., Inc. v. Stewart,
                                           15     154 Cal. App. 4th 55 (2007) ......................................................................................................9

                                           16   Rutledge v. Pharm. Care Mgmt. Ass’n,
                                                   592 U.S. 80 (2020) ...................................................................................................................17
                                           17
                                                Rutter v. Apple Inc.,
                                           18      2022 WL 1443336 (N.D. Cal. May 6, 2022) .......................................................................9, 11
                                           19   Saloojas, Inc. v. Cigna Healthcare of Cal., Inc.,
                                           20      2022 WL 5265141 (N.D. Cal. Oct. 6, 2022)............................................................................12

                                           21   Sarkisyan v. CIGNA Healthcare of Cal., Inc.,
                                                   613 F. Supp. 2d 1199 (C.D. Cal. 2009) .............................................................................17, 18
                                           22
                                                Satvati v. Allstate Northbrook Indem. Co.,
                                           23      634 F. Supp. 3d 792 (C.D. Cal. 2022) .....................................................................................11
                                           24   Spokeo, Inc. v. Robins,
                                                   578 U.S. 330 (2016) ...................................................................................................................7
                                           25

                                           26   Swartz v. KPMG LLP,
                                                   476 F.3d 756 (9th Cir. 2007) ...................................................................................................14
                                           27
                                                In re Toyota Motor Corp. Unintended Accel. Mktg., Sales Pracs., & Prod. Liab. Litig.,
                                           28       754 F. Supp. 2d 1145 (C.D. Cal. 2010) ...................................................................................13

                                                                                                                     - iii -
                                                 CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                 CASE NO. 2:23-CV-01477-DAD-KJN
                                                   Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 6 of 26


                                           1    United Food & Com. Workers Cent. Pa. & Regional Health & Welfare Fund v. Amgen, Inc.,
                                                   400 F. App’x 255 (9th Cir. 2010) ............................................................................................12
                                           2
                                                Vang v. Geil Enters. Inc.,
                                           3
                                                   2023 WL 3168513 (E.D. Cal. Apr. 28, 2023)..........................................................................18
                                           4
                                                Vess v. Ciba-Geigy Corp. USA,
                                           5       317 F.3d 1097 (9th Cir. 2003) .................................................................................................12

                                           6    Way v. JP Morgan Chase Bank, N.A.,
                                                  2018 WL 2117630 (E.D. Cal. May 8, 2018) .............................................................................2
                                           7
                                                White v. Lee,
                                           8       227 F.3d 1214 (9th Cir. 2000) ...................................................................................................2
                                           9
                                                Wise v. Verizon Commc’ns, Inc.,
                                           10      600 F.3d 1180 (9th Cir. 2010) .............................................................................................3, 17

                                           11   Zhang v. Super. Ct.,
MCDERMOTT WILL & EMERY LLP




                                                   57 Cal. 4th 364 (2013) .............................................................................................................14
                                           12
                        ATTORNEYS AT LAW




                                                Statutes
                          LOS ANGELES




                                           13
                                                Cal. Bus. & Prof. Code § 17200 ........................................................................................12, 14, 18
                                           14

                                           15   Cal. H&S Code § 1367.01(e) ...................................................................................................14, 15

                                           16   Cal. H&S Code § 1367.01(h)(4) ....................................................................................................15

                                           17   Cal. Ins. Code § 790.03............................................................................................................14, 15

                                           18   Other Authorities

                                           19   10 C.C.R. § 2695.1...................................................................................................................14, 15
                                           20   10 C.C.R. § 2695.7...................................................................................................................14, 15
                                           21   Fed. R. Civ. P. 8 .................................................................................................................12, 14, 16
                                           22
                                                Fed. R. Civ. P. 9(b) ................................................................................................................ passim
                                           23
                                                Fed. R. Civ. P. 12(b) ....................................................................................................................1, 2
                                           24

                                           25

                                           26

                                           27

                                           28

                                                                                                                      - iv -
                                                 CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                 CASE NO. 2:23-CV-01477-DAD-KJN
                                                     Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 7 of 26


                                           1             Defendants The Cigna Group (f/k/a Cigna Corporation) and Cigna Health and Life Insurance

                                           2    Company (together, “Cigna” or “Defendants”) respectfully submit this memorandum of points and

                                           3    authorities in support of their motion, pursuant to Federal Rules of Civil Procedure (9)(b), 12(b)(1)

                                           4    and 12(b)(6), to dismiss the Second Amended Complaint (“SAC”).

                                           5                                             INTRODUCTION 1
                                           6             On March 25, 2023, a media organization called ProPublica published a misleading and

                                           7    inflammatory article about Cigna’s use of a claims review process called Procedure-to-Diagnosis

                                           8    (PxDx).      A series of lawsuits followed, including this one—all based on a fundamental

                                           9    misunderstanding about how the PxDx claims review process works and when Cigna uses it.

                                           10            After Plaintiffs filed their original complaint, Cigna’s counsel had multiple discussions with

                                           11   Plaintiffs’ counsel about its various deficiencies, after which Plaintiffs filed two amended complaints.
MCDERMOTT WILL & EMERY LLP




                                           12   But despite having now had three opportunities to plead their claims, Plaintiffs still have not stated
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13   one. The problems start with Plaintiffs’ assumption that PxDx is an “illegal scheme” (SAC ¶ 1) that

                                           14   Cigna implemented to deny plan members their covered benefits, because Plaintiffs do not plead any

                                           15   facts to show such a fraudulent and unlawful scheme. Indeed, the ProPublica article from which

                                           16   Plaintiffs borrow most of their factual allegations itself provides a much more pedestrian explanation

                                           17   of PxDx from Dr. Alan Muney—Cigna’s former Chief Medical Officer, who helped develop the PxDx

                                           18   process. 2

                                           19            As Dr. Muney explained it, the PxDx process was “designed to prevent claims for care that

                                           20   Cigna considered unneeded or even harmful to the patient,” and it “simply allowed Cigna to cheaply

                                           21   identify claims that it had a right to deny”—i.e., non-covered claims. (See https://perma.cc/4RPS-

                                           22

                                           23   1
                                                  Unless otherwise noted, all emphasis has been added, and all citations, alterations, and internal
                                                quotation marks have been omitted. References to “Ex. __” are to the corresponding exhibits attached
                                           24   to the Declaration of Dmitriy Tishyevich filed herewith. References to “Kessel Decl.” are to the
                                                Declaration of Dr. Julie B. Kessel filed herewith, and references to “Kessel Ex. __” are to the
                                           25   corresponding exhibits attached to the Kessel Declaration.
                                                2
                                           26     See https://perma.cc/4RPS-5QL3. Because the SAC cites to and relies on this article (see, e.g., SAC
                                                ¶ 66 (“On or around March 25, 2023, Mr. Rentsch discovered through an article published by
                                           27   ProPublica that the Cigna Defendants had been using the PXDX algorithm to review patients’
                                                claims”)), the Pro Publica article is “incorporated by reference” into the complaint. Lopez v. Stages
                                           28   of Beauty, LLC, 307 F. Supp. 3d 1058, 1064 (S.D. Cal. 2018).

                                                                                                 -1-
                                                    CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                    CASE NO. 2:23-CV-01477-DAD-KJN
                                                     Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 8 of 26


                                           1    5QL3.) Thus, rather than being some unlawful scheme to fill Cigna’s pockets, PxDx simply checks

                                           2    whether certain specific treatments that providers are ordering are actually covered by the member’s

                                           3    benefit plan. And as Dr. Muney also described it, other payors have similar systems too: “[Dr.] Muney

                                           4    and his team had solved the problem once before. At UnitedHealthcare, where [Dr.] Muney was an

                                           5    executive, he said his group built a similar system to let its doctors quickly deny claims in bulk.” (Id.)

                                           6             Not surprisingly in light of this background, Plaintiffs have not plausibly alleged any of their

                                           7    claims. To start, the claims that two of the named Plaintiffs—Kisting-Leung and Thornhill—allege

                                           8    were improperly denied were not actually denied through PxDx, as shown in the declaration of Cigna’s

                                           9    Dr. Julie Kessel, which defeats their allegation that Cigna’s use of PxDx deprived them of their

                                           10   covered benefits. 3 (See SAC ¶ 1 (alleging that Cigna’s use of PxDx results in denial of payments for

                                           11   procedures “owed to them under Cigna’s health insurance policies”—i.e., covered procedures).) For
MCDERMOTT WILL & EMERY LLP




                                           12   this reason alone, these two named Plaintiffs’ claims should be dismissed for lack of Article III
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13   standing.

                                           14            Even setting that aside, Plaintiffs have not pled key elements of any of their claims. Count I

                                           15   (breach of the implied covenant of good faith and fair dealing) should be dismissed because Plaintiffs

                                           16   have failed to “identify the specific contractual provision [in their benefit plans] that was frustrated”

                                           17   by Cigna’s use of PxDx, as they must. See Way v. JP Morgan Chase Bank, N.A., 2018 WL 2117630,

                                           18   at *3 (E.D. Cal. May 8, 2018). Count II (a claim under California’s Unfair Competition Law) should

                                           19   be dismissed for multiple reasons, including most fundamentally because Plaintiffs’ complaint sounds

                                           20   in fraud, yet they fail to plead their UCL claim in accordance with the heightened requirements of

                                           21   Rule 9(b).

                                           22            Count III (intentional interference with contractual relations) should be dismissed because

                                           23   Plaintiffs have alleged that Cigna is a signatory to the contracts (the benefit plans) with which it

                                           24   allegedly interfered, but Cigna cannot tortiously interfere with its own contract. Count IV (unjust

                                           25
                                                3
                                           26     In challenging standing, Cigna is permitted to make a fact-based Rule 12(b)(1) motion and proffer
                                                evidence beyond the pleadings. See, e.g., White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000) (“With a
                                           27   factual Rule 12(b)(1) attack . . . a court may look beyond the complaint[.]”). The Court may thus
                                                consider Cigna’s declaration in deciding Cigna’s challenge to Kisting-Leung’s and Thornhill’s
                                           28   standing.

                                                                                                   -2-
                                                    CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                    CASE NO. 2:23-CV-01477-DAD-KJN
                                                  Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 9 of 26


                                           1    enrichment) should be dismissed because a quasi-contract claim fails as a matter of law when plaintiff

                                           2    alleges that there is a valid and enforceable contract at issue, as Plaintiffs do here. Count V (breach

                                           3    of contract) should be dismissed because Plaintiffs do not identify the specific provision of their plans

                                           4    that Cigna allegedly breached by using PxDx.

                                           5           Finally, all of Plaintiffs’ state-law claims should also be dismissed because they are preempted

                                           6    by ERISA. All these state-law claims are premised on Cigna allegedly using PxDx to deny Plaintiffs

                                           7    their covered benefits, and they hinge on whether the services that Plaintiffs obtained were actually

                                           8    required to be covered by their benefit plans. Where, as here, “the existence of an ERISA plan is a

                                           9    critical factor in establishing liability under a state cause of action, the state law claim is preempted.”

                                           10   Wise v. Verizon Commc’ns, Inc., 600 F.3d 1180, 1190 (9th Cir. 2010).

                                           11          For all these reasons, and more below, all of Plaintiffs’ claims should be dismissed.
MCDERMOTT WILL & EMERY LLP




                                           12                                        FACTUAL BACKGROUND
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13          A.      Overview of Plaintiffs’ Allegations.
                                           14          Plaintiffs bring this suit challenging Cigna’s PxDx review process. Drawing primarily on a

                                           15   March 2023 ProPublica article, Plaintiffs allege (without any factual basis) that PxDx was an “illegal

                                           16   scheme to systematically, wrongfully, and automatically deny its insureds the thorough, individualized

                                           17   physician review of claims guaranteed to them by California law and, ultimately, the payments for

                                           18   necessary medical procedures owed to them under Cigna’s health insurance policies.” (SAC ¶ 1.)

                                           19   Thus, the core premise of Plaintiffs’ lawsuit is that Cigna supposedly used PxDx to deny claims for

                                           20   services that should have been covered under their benefit plans. As detailed below, however,

                                           21   Plaintiffs do not offer any facts to support this premise.

                                           22          Plaintiffs also describe PxDx as essentially a scheme to defraud—accusing Cigna of making

                                           23   “deceptive and misleading representations to Plaintiffs and Class members” about Cigna’s use of

                                           24   PxDx. (Id. ¶ 8.) Plaintiffs do not identify any specific alleged misrepresentations, however. Instead,

                                           25   they point to a phrase on Cigna’s website that states “we’ve got you covered,” and Plaintiffs say that

                                           26   this phrase translates to an actionable promise that “Cigna would conduct a thorough, fair, and

                                           27   objective review of their claims.” (See id.) But the broad and general phrase “we’ve got you covered”

                                           28   on a website is not a promise of coverage for a specific claim, nor does it even mention PxDx or

                                                                                                   -3-
                                                 CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                 CASE NO. 2:23-CV-01477-DAD-KJN
                                                 Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 10 of 26


                                           1    medical necessity review. And that Cigna website moreover includes a disclaimer that “[a]ll insurance

                                           2    policies and group benefit plans contain exclusions and limitations.” (Ex. A at 12.)

                                           3           The four named Plaintiffs—Suzanne Kisting-Leung (“Kisting-Leung”), Samantha Dababneh

                                           4    (“Dababneh”), Randall Rentsch (“Rentsch”), and Cristina Thornhill (“Thornhill”)—are all California

                                           5    citizens. (SAC ¶¶ 13-16). They bring five state-law claims, and they purport to represent a class of

                                           6    “all persons who had purchased health insurance from Cigna in the State of California during the

                                           7    period of four years prior to the filing of the complaint through the present” (id. ¶ 79), and a subclass

                                           8    consisting of all such persons “whose claims were reviewed and denied using the PXDX algorithm”

                                           9    in that same time period. (Id. ¶ 81.)

                                           10          B.      Cigna’s PxDx Claims Review Process, and Plaintiffs’ Lack of Showing of Any
                                                               Plan Breach.
                                           11
MCDERMOTT WILL & EMERY LLP




                                                       Cigna administers “benefits for covered health services” for its clients’ health benefit plans.
                                           12
                        ATTORNEYS AT LAW




                                                (See id. ¶ 20.) Cigna does so in accordance with plan terms: as Plaintiffs recognize, Cigna members
                          LOS ANGELES




                                           13
                                                have benefit plans that set the terms and limits of their healthcare coverage. (See, e.g., id. (“The Cigna
                                           14
                                                Defendants provided plaintiffs and Class members with written terms explaining the plan coverage
                                           15
                                                Cigna offered them”); id. ¶ 1 (challenging Cigna’s denials of payments for procedures allegedly “owed
                                           16
                                                to [Plaintiffs] under Cigna’s health insurance policies”).)
                                           17
                                                       A key part of claims administration services that Cigna provides to plans is to ensure that the
                                           18
                                                plan only pays for services that (among other things) the plan actually covers. (See id. ¶ 20 (alleging
                                           19
                                                that according to plan terms, “Cigna must provide benefits for covered health services[.]”).) PxDx is
                                           20
                                                one way that Cigna checks incoming claims for compliance with plan benefit limitations—because as
                                           21
                                                Dr. Muney described it in the Pro Publica article on which Plaintiffs rely, the PxDx process was
                                           22
                                                intended to “simply allow[] Cigna to cheaply identify claims that it had a right to deny.”
                                           23
                                                       As Plaintiffs acknowledge, if the PxDx system identifies such a non-covered claim, Cigna will
                                           24
                                                send the member a letter explaining why the claim was denied. (See, e.g., id. ¶¶ 47-48 (Dababneh
                                           25
                                                acknowledging that she “received a denial letter from Cigna stating that Cigna was denying her claim
                                           26
                                                because it was ‘not medically necessary,’” and that “the denial letter indicated that the PXDX
                                           27
                                                algorithm reviewed her claim”); id. ¶ 56 (same allegations for Rentsch).)
                                           28

                                                                                                   -4-
                                                 CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                 CASE NO. 2:23-CV-01477-DAD-KJN
                                                 Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 11 of 26


                                           1           A core premise of Plaintiffs’ case is that all these denials were supposedly contrary to the terms

                                           2    of their benefit plans—i.e., that Cigna should have adjudicated their claims as covered, but it instead

                                           3    improperly denied them through PxDx. (See id. ¶ 1 (alleging that Cigna used PxDx to deny “payments

                                           4    for necessary medical procedures owed to [Plaintiffs] under Cigna’s health insurance policies”).) But

                                           5    as described below, not one of these named Plaintiffs has shown that their claim denials were contrary

                                           6    to plan terms.

                                           7           Dababneh alleges that she received a test for a Vitamin D deficiency in September 2022, and

                                           8    that she then “received a denial letter from Cigna stating that Cigna was denying her claim because it

                                           9    was ‘not medically necessary.’” (Id. ¶¶ 46-47.) Dababneh likewise does not identify any plan terms

                                           10   to show that any of these denials were contrary to plan terms or that anything in her benefit plan would

                                           11   preclude Cigna from using a claims review process like PxDx. (See id. ¶¶ 45-51.)
MCDERMOTT WILL & EMERY LLP




                                           12          Rentsch alleges that he received four transforaminal epidurals between June 2016 and February
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13   2017 as treatment for a pinched nerve, with Cigna denying coverage for these claims as “not medically

                                           14   necessary.” (Id. ¶¶ 53-54, 56, 58-59, 62-65). Like the other named Plaintiffs, Rentsch does not

                                           15   identify any plan terms to show that any of these denials were incorrect, nor does he identify anything

                                           16   in his benefit plan that would preclude Cigna from using a claims review process like PxDx. (See id.

                                           17   ¶¶ 52-68.)

                                           18          Unlike Plaintiffs Dababneh and Rentsch, Kisting-Leung and Thornhill do not allege that they

                                           19   had received denial letters which indicated that their claims were denied through PxDx. There is good

                                           20   reason why: as explained in the Declaration of Cigna’s Dr. Julie B. Kessel, their claims as referenced

                                           21   in the SAC in fact were not denied through Cigna’s PxDx review process.

                                           22          Kisting-Leung alleges that she underwent two transvaginal ultrasounds, on October 17 and

                                           23   November 30, 2022, and that Cigna denied these services as “not medically necessary.” (Id. ¶¶ 33-

                                           24   34, 37-38.) She does not identify anything in her benefit plan to show that these services were, in fact,

                                           25   medically necessary or that they should have been covered. Nor does she identify anything in her

                                           26   benefit plan that would preclude Cigna from using a claims-review process like PxDx to review claims

                                           27   for compliance with benefit plan limitations. (See id. ¶¶ 32-44.)

                                           28

                                                                                                  -5-
                                                 CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                 CASE NO. 2:23-CV-01477-DAD-KJN
                                                    Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 12 of 26


                                           1             Kisting-Leung alleges—only “upon information and belief”—that “Cigna Defendants used the

                                           2    PXDX system to ‘review’ and deny [her] claims.” (Id. ¶ 41.) But that is not true. Rather than being

                                           3    denied through PxDx, the Explanation of Benefit forms for these claims indicate that they were denied

                                           4    as non-covered under Ms. Kisting-Leung’s benefit plan, with a code stating that “the submitted code

                                           5    is denied because it’s related to a service that your plan doesn’t cover. Please refer to your plan

                                           6    booklet.” (See Kessel Decl. ¶ 12; see also Kessel Ex. 1 at 3; Kessel Ex. 2 at 3.) Thus, Cigna’s records

                                           7    do not show that these claims for transvaginal ultrasound were denied through PxDx.

                                           8             Thornhill alleges that after discovering an “asymmetric mol[e] on her skin,” 4 she received

                                           9    some unspecified “oncology and gene expression profiling” in September 2022, which Cigna denied

                                           10   as “not medically necessary.” (SAC ¶¶ 70, 72-73.) Thornhill also does not identify any plan terms to

                                           11   show that this “oncology and gene expression profiling” procedure should have been covered, nor any
MCDERMOTT WILL & EMERY LLP




                                           12   plan terms that would preclude Cigna from using PxDx.
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13            Like Kisting-Leung, Thornhill alleges—also “upon information and belief” only—that her

                                           14   claim was denied through PxDx. (See id. ¶¶ 75-76.) Here, again, that was not the case. In fact,

                                           15   Cigna’s review indicates that Ms. Thornhill’s claim was denied after Cigna issued an Explanation of

                                           16   Benefits form that stated that Cigna “need[s] more information about this claim to determine if the

                                           17   services received were medically necessary,” and that if Cigna does not “receive the information[,]

                                           18   we’ll have to close the claim.” (Kessel Decl. ¶ 16; see also Kessel Ex. 3 at 3.) Two months later,

                                           19   Cigna issued another EOB that stated: “We need medical records to process this claim. We have

                                           20   requested but not yet received it. We’ve closed the claim.” (Kessel Decl. ¶ 18; see also Kessel Ex. 4

                                           21   at 3.) Thus, Cigna’s records do not show that this claim was denied through PxDx, contrary to

                                           22   Thornhill’s allegations.

                                           23

                                           24

                                           25

                                           26

                                           27   4
                                                  The SAC refers to an “asymmetric mold” rather than “mole” throughout, but from context, Cigna
                                           28   assumes that these references are meant to be to an “asymmetric mole.”

                                                                                                 -6-
                                                    CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                    CASE NO. 2:23-CV-01477-DAD-KJN
                                                     Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 13 of 26


                                           1                                                ARGUMENT

                                           2    I.       Plaintiffs Kisting-Leung and Thornhill Lack Article III Standing Because Their Claims
                                                         Were Not Denied Through PxDx.
                                           3
                                                         Plaintiffs allege that they were injured because by using PxDx, Cigna denied their claims for
                                           4
                                                services that allegedly should have been covered under the terms of their benefit plans. (See SAC ¶ 1
                                           5
                                                (“This action arises from Cigna’s illegal scheme to systematically, wrongfully, and automatically deny
                                           6
                                                its insureds the thorough, individualized physician review of claims guaranteed to them by California
                                           7
                                                law and, ultimately, the payments for necessary medical procedures owed to them under Cigna’s
                                           8
                                                health insurance policies.”).) And all Plaintiffs—including Kisting-Leung and Thornhill—tie their
                                           9
                                                alleged injuries to these PxDx denials, alleging that they “had their claims rejected by Cigna using the
                                           10
                                                PXDX system.” (Id. ¶ 5.)
                                           11
MCDERMOTT WILL & EMERY LLP




                                                         But this injury theory does not square with the claims that Kisting-Leung and Thornhill allege
                                           12
                        ATTORNEYS AT LAW




                                                Cigna improperly denied—because the records for these claims show that they were not, in fact, denied
                          LOS ANGELES




                                           13
                                                through Cigna’s PxDx claims review process. (See supra 5-6; Kessel Decl. ¶¶ 12-20.) Because
                                           14
                                                Kisting-Leung and Thornhill have not shown an “injury in fact”—“an invasion of a legally protected
                                           15
                                                interest that is concrete and particularized and actual or imminent, not conjectural or hypothetical,”
                                           16
                                                Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016), they have no Article III standing to pursue recovery
                                           17
                                                for these claims and they should be dismissed from this suit.
                                           18
                                                         Kisting-Leung (but not Thornhill) alleges that if she had “known that the Cigna Defendants
                                           19
                                                would evade the legally required process for reviewing her claims and delegate that process to its
                                           20
                                                PXDX algorithm to review and deny claims, she would not have enrolled with Cigna or at most would
                                           21
                                                only have paid less for it.” (SAC ¶ 44.) But Kisting-Leung does not support this speculative statement
                                           22
                                                with any alleged facts. Moreover, this theory would still turn on whether Cigna had in fact denied her
                                           23
                                                claims using PxDx—otherwise Kisting-Leung would have felt no impact from her plan’s use of PxDx,
                                           24
                                                because she personally would have received the exact coverage she bargained for. Because Kisting-
                                           25
                                                Leung does not identify any claims under her plan that were actually subject to PxDx, she cannot make
                                           26
                                                that showing.
                                           27

                                           28

                                                                                                  -7-
                                                 CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                 CASE NO. 2:23-CV-01477-DAD-KJN
                                                    Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 14 of 26


                                           1             Thus, with no Article III standing, Kisting-Leung’s and Thornhill’s claims should be

                                           2    dismissed.

                                           3    II.      The Contract, Quasi-Contract, and Intentional Interference with Contract Claims (First,
                                                         Third, Fourth and Fifth Causes of Action) Should All Be Dismissed. 5
                                           4
                                                         Plaintiffs premise their First, Third, Fourth, and Fifth Causes of Action on their assumption
                                           5
                                                that Cigna breached some obligation to them by using the PxDx process to review their claims.
                                           6
                                                Plaintiffs have not plausibly pled their breach of contract or implied covenant claims, because they
                                           7
                                                have not identified any contractual provisions that Cigna allegedly breached or frustrated. Plaintiffs’
                                           8
                                                quasi-contract claims should be dismissed because their and Cigna’s rights and obligations are
                                           9
                                                governed by written contracts—Plaintiffs’ benefit plans. Finally, Plaintiffs’ claim for intentional
                                           10
                                                interference should also be dismissed because Plaintiffs allege that Cigna is a party to the contracts
                                           11
MCDERMOTT WILL & EMERY LLP




                                                with which it is allegedly interfering (Plaintiffs’ benefit plans), and that claim is not available against
                                           12
                        ATTORNEYS AT LAW




                                                a party to the contract.
                          LOS ANGELES




                                           13
                                                         A.     The Claim for Breach of the Implied Covenant of Good Faith and Fair Dealing
                                           14                   (First Cause of Action) Should Be Dismissed.
                                           15            Plaintiffs’ claim for breach of the implied covenant of good faith and fair dealing should be

                                           16   dismissed because to state this claim, “a plaintiff must identify the specific contractual provision that

                                           17   was frustrated,” Plastino v. Wells Fargo Bank, 873 F. Supp. 2d 1179, 1191 (N.D. Cal. 2012), and

                                           18   Plaintiffs have not done that here.

                                           19            Plaintiffs say that Cigna breached the implied covenant by “improperly delegating their claims

                                           20   review function to the PXDX system,” by “allowing their medical directors to sign off on the denials

                                           21   in batches without reviewing each patient’s file,” and by “failing to have its medical directors conduct

                                           22   a thorough, fair, and objective investigation of each submitted claim[.]” (SAC ¶ 94.) But Plaintiffs

                                           23   do not try to link any of these supposed violations to any actual provisions in their benefit plans. (See

                                           24   id. ¶¶ 91-101.) Absent such allegations, Plaintiffs have not shown how Cigna’s alleged use of PxDx

                                           25   would have frustrated any specific provisions in their benefit plans—which in turn means that they

                                           26

                                           27   5
                                                  As addressed in Section IV below, all these state-law counts are also preempted by ERISA, and
                                           28   should be dismissed for that reason as well.

                                                                                                   -8-
                                                    CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                    CASE NO. 2:23-CV-01477-DAD-KJN
                                                 Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 15 of 26


                                           1    have not stated this implied covenant claim. See Plastino, 873 F. Supp. 2d at 1191 (dismissing where

                                           2    “Plaintiff has pointed to no specific contractual provision that was frustrated”); Rutter v. Apple Inc.,

                                           3    2022 WL 1443336, at *7 (N.D. Cal. May 6, 2022) (dismissing because “implied covenants exist to

                                           4    protect express contractual provisions, and the Amended Complaint has failed to identify any”);

                                           5    Gilliland v. Chase Home Fin., LLC, 2014 WL 325318, at *4 (E.D. Cal. Jan. 29, 2014) (dismissing

                                           6    because “Plaintiff has not alleged a contractual obligation as required to establish a breach of an

                                           7    implied covenant of good faith and fair dealing”).

                                           8            B.       The Intentional Interference with Contractual Relations Claim (Third Cause of
                                                                 Action) Should Be Dismissed.
                                           9
                                                        In their tortious interference claim, Plaintiffs allege that they “entered into written contracts
                                           10
                                                with Defendants [Cigna]” whereby Cigna was “required to pay for Plaintiffs’ and Class Members’
                                           11
MCDERMOTT WILL & EMERY LLP




                                                medically necessary services rendered by healthcare providers,” and that Cigna “interfere[d] with the
                                           12
                        ATTORNEYS AT LAW




                                                performance” of these benefit plan-contracts by allegedly “denying payments for medically necessary
                          LOS ANGELES




                                           13
                                                services without any basis.” (SAC ¶¶ 125, 128.)
                                           14
                                                        Plaintiffs’ Third Cause of Action hinges on Plaintiffs’ allegation that by using PxDx, Cigna
                                           15
                                                interfered with contracts—benefit plans—to which Cigna is a party. This claim fails as a matter of
                                           16
                                                law because it is a “long-standing proposition” of California law that “the tort cause of action for
                                           17
                                                interference with contract does not lie against a party to the contract because one contracting party
                                           18
                                                owes no general tort duty to another not to interfere with performance of the contract; its duty is simply
                                           19
                                                to perform the contract according to its terms.” Fresno Motors, LLC v. Mercedes Benz USA, LLC,
                                           20
                                                771 F.3d 1119, 1126 (9th Cir. 2014); see also, e.g., Meridian Treatment Servs. v. United Behav.
                                           21
                                                Health, 2020 WL 7000073, at *6 (N.D. Cal. July 20, 2020) (dismissing intentional interference claim
                                           22
                                                because “the tort cause of action for interference with contract does not lie against a party to the
                                           23
                                                contract”); PM Grp., Inc. v. Stewart, 154 Cal. App. 4th 55, 64-65 (2007) (reversing jury award because
                                           24
                                                “the tort of intentional interference with contractual relations is committed only by strangers—
                                           25
                                                interlopers who have no legitimate interest in the scope or course of the contract’s performance,” and
                                           26
                                                “consequently, a contracting party is incapable of interfering with the performance of his or her own
                                           27
                                                contract[.]”).
                                           28

                                                                                                   -9-
                                                 CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                 CASE NO. 2:23-CV-01477-DAD-KJN
                                                 Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 16 of 26


                                           1           C.      The Unjust Enrichment Claim (Fourth Cause of Action) Should Be Dismissed.

                                           2           In the Fourth Cause of Action, Plaintiffs allege that Cigna was unjustly enriched “by delegating

                                           3    the claims review process to the automated PXDX system” and by “arbitrarily denying its insureds

                                           4    medical payments owed to them under Cigna’s policies[.]” (SAC ¶¶ 136, 140.) Thus, like Plaintiffs’

                                           5    other legal theories, Count IV is premised on Plaintiffs’ assumption that Cigna used PxDx to

                                           6    improperly deny them covered services. This claim should be dismissed for two reasons.

                                           7           First and most fundamental: Plaintiffs cannot maintain this quasi-contract claim because as

                                           8    they repeatedly acknowledge throughout their complaint (including by bringing a breach of contract

                                           9    claim, Count V), their rights here are governed by valid written contracts—their benefit plans. (See,

                                           10   e.g., id. ¶ 20 (“The Cigna Defendants provided Plaintiffs and Class members with written terms [i.e.,

                                           11   terms in their benefit plans] explaining the plan coverage Cigna offered them.”).)
MCDERMOTT WILL & EMERY LLP




                                           12          “Courts have repeatedly held that a plaintiff may not plead the existence of an enforceable
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13   contract and simultaneously maintain a quasi-contract claim unless the plaintiff also pleads facts

                                           14   suggesting that the contract may be unenforceable or invalid.” Brodsky v. Apple Inc., 445 F. Supp. 3d

                                           15   110, 133 (N.D. Cal. 2020); see also, e.g., Adtrader, Inc. v. Google LLC, 2018 WL 3428525, at *11

                                           16   (N.D. Cal. July 13, 2018) (“to assert such a claim [for unjust enrichment], Plaintiffs must allege that

                                           17   the parties do not have an enforceable contract”); Hunt v. Zuffa, LLC, 2021 WL 4355728, at *1 (9th

                                           18   Cir. Sept. 24, 2021) (plaintiff did not allege unjust enrichment in the alternative where he did not

                                           19   “allege or contend that . . . any . . . pertinent agreement is invalid.”). The SAC has no such allegations.

                                           20   To the contrary, Plaintiffs allege that their benefit plans are valid and enforceable contracts as part of

                                           21   their breach of contract claim. (See SAC ¶ 144 (“Defendants formed an agreement and entered into a

                                           22   contract of insurance with Plaintiffs and the Class”); also compare id. ¶ 135 (“incorporate[ing] by

                                           23   reference all preceding allegations”) with id. ¶ 92 (alleging that Cigna and plaintiffs “entered into

                                           24   written contracts . . . which provided for coverage for medical services[.]”).) These allegations

                                           25   foreclose their unjust enrichment claim as a matter of law.

                                           26          Second, Plaintiffs have not identified any terms in their benefit plans that would preclude Cigna

                                           27   from using a claims review process like PxDx to determine whether a claim is covered by the

                                           28   member’s benefit plan. Nor have they identified any actionable affirmative promise by Cigna not to

                                                                                                   - 10 -
                                                 CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                 CASE NO. 2:23-CV-01477-DAD-KJN
                                                 Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 17 of 26


                                           1    use a system like PxDx to review their claims. Absent something that would affirmatively preclude

                                           2    Cigna from using a process like PxDx (whether a provision in their benefit plans, or some other

                                           3    actionable promise that Cigna made to Plaintiffs), there is nothing “unjust” about Cigna doing so.

                                           4           D.      The Breach of Contract Claim (Fifth Cause of Action) Should Be Dismissed.
                                           5           In Count V, Plaintiffs allege that Cigna was contractually obligated “to exercise its fiduciary

                                           6    duties to policyholders, abide by applicable state laws, and adequately review and inform

                                           7    policyholders prior to a claim denial” (id. ¶ 146), and they contend that Cigna’s use of PxDx

                                           8    supposedly breached those obligations.

                                           9           This claim should be dismissed for a simple reason: failure to plead breach. “To properly

                                           10   plead breach of contract, the complaint must identify the specific provision of the contract allegedly

                                           11   breached by the defendant.” Caraccioli v. Facebook, Inc., 167 F. Supp. 3d 1056, 1064 (N.D. Cal.
MCDERMOTT WILL & EMERY LLP




                                           12   2016), aff'd, 700 F. App'x 588 (9th Cir. 2017); see also, e.g., Satvati v. Allstate Northbrook Indem.
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13   Co., 634 F. Supp. 3d 792, 797 (C.D. Cal. 2022) (“To survive a motion to dismiss, a plaintiff must

                                           14   identify a specific contract provision breached by the defendant.”). Plaintiffs have not done so here.

                                           15   Their assertions about Cigna’s supposed obligations are unsupported by any language from their

                                           16   benefit plans. (SAC ¶¶ 143-149.) And the absence of these specifics is telling: Plaintiffs have access

                                           17   to their own benefit plans, and they certainly could have identified supporting language from those

                                           18   plans if such language existed.

                                           19          Without Plaintiffs identifying plan language to show the scope and extent of Cigna’s

                                           20   obligations, there is no way for this Court to determine whether Cigna’s use of PxDx would have

                                           21   actually breached those obligations. As courts routinely hold, the lack of such specifics mandates

                                           22   dismissal. See, e.g., Rutter, 2022 WL 1443336, at *7 (dismissing where plaintiffs “failed to identify

                                           23   a provision in the iCloud Terms and Conditions” to support their breach of contract claim); In re

                                           24   Ambry Genetics Data Breach Litig., 567 F. Supp. 3d 1130, 1143-44 (C.D. Cal. 2021) (dismissing for

                                           25   failure to “allege the specific provisions in the contract creating the obligation”); Satvati, 634 F. Supp.

                                           26   3d at 797 (dismissing where “Plaintiffs fail[ed] to identify a Policy provision that Defendant

                                           27   breached”).

                                           28

                                                                                                   - 11 -
                                                 CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                 CASE NO. 2:23-CV-01477-DAD-KJN
                                                 Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 18 of 26


                                           1    III.   Plaintiffs’ California UCL Claim (Second Cause of Action) Should Be Dismissed.

                                           2           The gist of Plaintiffs’ UCL claim is the same as the other counts—Plaintiffs allege that as a

                                           3    result of Cigna’s use of PxDx, they did not receive the benefits to which they are entitled under their

                                           4    benefit plans, which Plaintiffs allege was “unfair,” “unlawful,” and/or “fraudulent” under California

                                           5    Business & Professions Code Section 17200. (SAC ¶ 122 (as relief for the Section 17200 claim,

                                           6    seeking an order “enjoining Defendants from denying benefits owed to Cigna insureds through its

                                           7    scheme involving the PXDX processing system”).) This Count fails under both Rules 9(b) and 8.

                                           8           A.      Plaintiffs Fail To Plead Count II With Particularity Under Rule 9(b).

                                           9           Section 17200 claims grounded in fraud are subject to Rule 9(b). See Kearns v. Ford Motor

                                           10   Co., 567 F.3d 1120, 1124-25 (9th Cir. 2009). This is true even “where fraud is not an essential element

                                           11   of a claim,” but a plaintiff “choose[s] nonetheless to allege in the complaint that the defendant has
MCDERMOTT WILL & EMERY LLP




                                           12   engaged in fraudulent conduct” and “rel[ies] entirely on that course of conduct as the basis of [the]
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13   claim.” Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1103-05 (9th Cir. 2003); United Food & Com.

                                           14   Workers Cent. Pa. & Regional Health & Welfare Fund v. Amgen, Inc., 400 F. App’x 255, 257 (9th

                                           15   Cir. 2010) (“Because the complaint sounded in fraud, all of its allegations are subject to Rule 9(b)’s

                                           16   pleading requirements. [ . . . ] Consequently, the district court properly dismissed the complaint in its

                                           17   entirety, including its UCL ‘unlawful’ and ‘unfair’ claims.”).

                                           18          Plaintiffs’ complaint undoubtedly sounds in fraud because its premise is that Cigna used PxDx

                                           19   as a secret and fraudulent scheme to deny members their covered benefits. (See, e.g., SAC ¶ 27 (“The

                                           20   Cigna Defendants fraudulently misled California insureds into believing that their health plan would

                                           21   individually assess their claims and pay for medically necessary procedures”); id. ¶ 8 (“Cigna also

                                           22   made deceptive and misleading representations to Plaintiffs and Class members regarding the

                                           23   efficiency of their services”).) Because Plaintiffs’ complaint sounds in fraud, all three prongs of their

                                           24   UCL claim are subject to Rule 9(b). See Kearns, 567 F.3d at 1127 (no error in district court applying

                                           25   Rule 9(b) to the entire UCL claim where the complaint “alleges a unified course of fraudulent

                                           26   conduct”); Saloojas, Inc. v. Cigna Healthcare of Cal., Inc., 2022 WL 5265141, at *9 (N.D. Cal. Oct.

                                           27   6, 2022) (noting that provider-plaintiff’s UCL “claim invokes each prong of unfair competition” and

                                           28

                                                                                                  - 12 -
                                                 CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                 CASE NO. 2:23-CV-01477-DAD-KJN
                                                 Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 19 of 26


                                           1    applying Rule 9(b) to the entire UCL claim because “Saloojas’s complaint undoubtedly sounds in

                                           2    fraud”).

                                           3           Rule 9(b) requires Plaintiffs to “state with particularity the circumstances constituting fraud[.]”

                                           4    In the Ninth Circuit, that means that Plaintiffs must “articulate the who, what, when, where, and how

                                           5    of the misconduct alleged.” Kearns, 567 F.3d at 1126; see also In re Toyota Motor Corp. Unintended

                                           6    Acceleration Mktg., Sales Pracs., & Prod. Liab. Litig., 754 F. Supp. 2d 1145, 1170 (C.D. Cal. 2010)

                                           7    (requiring plaintiff to “allege particular facts explaining the circumstances of the fraud, including time,

                                           8    place, persons, statements made[,] and an explanation of how or why such statements are false or

                                           9    misleading.”). Despite three tries, Plaintiffs have not pled any such specifics. Plaintiffs identify only

                                           10   two alleged misrepresentations: (1) “Cigna’s policies falsely claim that determinations related to

                                           11   medical necessity of health care services would be made by a medical director, when in reality the
MCDERMOTT WILL & EMERY LLP




                                           12   medical directors are not involved in reviewing patients’ claims”; and (2) “Cigna’[s] website falsely
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13   states ‘we’ve got you covered,’ leading Plaintiff and Class members to believe that Cigna would

                                           14   conduct a thorough, fair, and objective review of their claims.” (SAC ¶ 8.)

                                           15          These assertions are not “particular facts explaining the circumstances of the fraud.” As to the

                                           16   first theory, Plaintiffs do not identify what terms in their benefit plan support it. As to the second

                                           17   theory, Plaintiffs cannot seriously contend that an isolated phrase from www.cigna.com—which, in

                                           18   full context, states “Your health care needs change over the course of your lifetime. When they do,

                                           19   we’ve got you covered”— amounts to a legally-actionable promise by Cigna to review their claims in

                                           20   any particular way, or not to use a claims review process like PxDx. At any rate, that same Cigna

                                           21   website also has a disclaimer at the bottom which states “All insurance policies and group benefit

                                           22   plans contain exclusions and limitations.” (Ex. A at 12.) A snippet from Cigna’s website plainly

                                           23   cannot override plan benefit limitations.

                                           24          Next, “plaintiffs alleging claims under the . . . UCL are required to plead and prove actual

                                           25   reliance on the misrepresentations or omissions at issue.” Great Pac. Sec. v. Barclays Cap., Inc., 743

                                           26   F. App’x 780, 783 (9th Cir. July 30, 2018) (citing Kwikset Corp. v. Super. Ct., 51 Cal. 4th 310, 326-

                                           27   27 (2011)). Plaintiffs here make the boilerplate assertion that they supposedly “relied on the Cigna

                                           28   Defendants’ misrepresentations” (SAC ¶¶ 43, 68, 78)—but not one of them alleges that they even saw

                                                                                                   - 13 -
                                                 CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                 CASE NO. 2:23-CV-01477-DAD-KJN
                                                    Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 20 of 26


                                           1    the “we’ve got you covered” phrase on Cigna’s website or any alleged representations in the Cigna

                                           2    benefit plans before they decided to buy their health insurance. (See id. ¶ 8.) The UCL claim thus

                                           3    fails for this reason as well.

                                           4             Finally, “in the context of a fraud suit involving multiple defendants, a plaintiff must, at a

                                           5    minimum, identify the role of each defendant in the alleged fraudulent scheme.” Swartz v. KPMG

                                           6    LLP, 476 F.3d 756, 765 (9th Cir. 2007). Plaintiffs do not meet this requirement either. They allege

                                           7    that “Cigna” (collectively) had allegedly “made deceptive and misleading representations” (SAC ¶ 8),

                                           8    but they do not identify the alleged role that Cigna Corporation versus Cigna Health and Life Insurance

                                           9    Company had played in the alleged fraud. Dismissal is appropriate for this reason as well. See Swartz,

                                           10   476 F.3d at 765 (“general allegations that the ‘defendants’ engaged in fraudulent conduct” are

                                           11   insufficient); Miller v. Taryle, 2013 WL 12205851, at *5-6 (C.D. Cal. Sept. 10, 2013) (dismissing
MCDERMOTT WILL & EMERY LLP




                                           12   where plaintiff “has not differentiated the allegations to put each Defendant on notice of its alleged
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13   participation in the fraud”).

                                           14            B.     Plaintiffs Fail To Plausibly Plead a UCL Claim Under Rule 8.
                                           15            Even if Rule 9(b) did not apply, Plaintiffs have not plausibly alleged their Section 17200 claim

                                           16   under Rule 8. In arguing that Cigna’s conduct was “unlawful,” Plaintiffs cite alleged violations of

                                           17   California Insurance Code § 790.03(h), California Code of Regulations title 10, § 2695.7, and

                                           18   California Health & Safety Code §1367.01(e) and (h(4). (SAC ¶¶ 109-114.) The first two cannot

                                           19   form the basis for a UCL claim because they are part of the Unfair Insurance Practices Act (UIPA),

                                           20   which “contemplate[s] only administrative enforcement by the Insurance Commission.” Zhang v.

                                           21   Super. Ct., 57 Cal. 4th 364, 384 (2013). Thus, “private UIPA actions are absolutely barred” and “a

                                           22   litigant may not rely on the proscriptions of section 790.03 as the basis for a UCL claim.” Id.

                                           23   Likewise, “the regulations set forth in 10 C.C.R. section 2695.1 cannot be used as a predicate offense

                                           24   for an UCL claim of unlawfulness because those regulations are promulgated under the auspices of

                                           25   Insurance Code section 790.03(h).”). 6 Height St. Skilled Care, LLC v. Liberty Mut. Ins. Co., 2022 WL

                                           26   1665220, at *5 (E.D. Cal. May 25, 2022).

                                           27
                                                6
                                                 10 C.C.R. § 2695.1 is the preamble to these UIPA regulations, which also include Section 2695.7.
                                           28   See Aerojet Rocketdyne, Inc. v. Glob. Aerospace, Inc., 2020 WL 3893395, at *7 (E.D. Cal. July 10,
                                                                                                  - 14 -
                                                    CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                    CASE NO. 2:23-CV-01477-DAD-KJN
                                                 Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 21 of 26


                                           1            Plaintiffs’ allegations that Cigna’s use of PxDx to review claims violated California Health &

                                           2    Safety Code § 1367.01(e) and (h)(4) (see SAC ¶ 113) fare no better. Section 1367.01(e) states:

                                           3            No individual, other than a licensed physician or a licensed health care professional
                                                        who is competent to evaluate the specific clinical issues involved in the health care
                                           4            services requested by the provider, may deny or modify requests for authorization of
                                                        health care services for an enrollee for reasons of medical necessity.
                                           5

                                           6    This regulation prohibits persons who are not competent health care professionals from denying or

                                           7    modifying services for medical necessity reasons. As Plaintiffs acknowledge, the PxDx process allows

                                           8    Cigna’s medical directors—doctors—to review claims and either approve or deny them. (See SAC ¶

                                           9    1 (alleging that Cigna uses PxDx to allow its “doctors to automatically deny payments in batches of

                                           10   hundreds or thousands at a time.”).) Plaintiffs do not allege that any individual other than a doctor or

                                           11   licensed health care professional reviewed their claims, which means they have not alleged a violation
MCDERMOTT WILL & EMERY LLP




                                           12   of this section.
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13           Plaintiffs also try to support the “unlawful” prong with their allegation that Cigna’s use of

                                           14   PxDx violated California Health & Safety Code Section 1367.01(h)(4)—by allegedly “fail[ing] to

                                           15   communicate to Plaintiffs and Class members in writing their decision to deny Plaintiffs’ and Class

                                           16   members’ claims and provide a clear and concise explanation of the reasons for the plan’s decision, a

                                           17   description of the criteria or guidelines used, and the clinical reasons for the decisions regarding

                                           18   medical necessity, including the information as to how Plaintiffs and Class members may file a

                                           19   grievance with the plan[.]” (Id. ¶ 114.) Plaintiffs have not plausibly pled a violation of this regulation

                                           20   either because they acknowledge that in denying their claims, Cigna sent them letters that explained

                                           21   why the procedure was not covered. (See id. ¶ 34 (Kisting-Leung); id. ¶ 47 (Dababneh); id. ¶ 56

                                           22   (Rentsch); id. ¶ 73 (Thornhill).)

                                           23           Finally, Plaintiffs’ attempts to rely on the “unfair” prong fail for two reasons. First, Plaintiffs

                                           24   do not plead any distinct “unfairness” UCL theory separate and apart from their “unlawful” or

                                           25   “fraudulent” UCL theories. (See id. ¶ 115.) For the reasons above, Plaintiffs have not pled either of

                                           26

                                           27   2020) (finding that plaintiffs could not allege a violation of the unlawful prong based on 10 C.C.R.
                                                § 2695.7 because “neither Insurance Code section 790.03, nor its enabling regulation, 10 C.C.R.
                                           28   section 2695.1, can serve as the predicate offense for an ‘unlawfulness’ claim under the UCL.”).

                                                                                                   - 15 -
                                                 CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                 CASE NO. 2:23-CV-01477-DAD-KJN
                                                    Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 22 of 26


                                           1    those two prongs. Where “the unfair business practices alleged under the unfair prong of the UCL

                                           2    overlap entirely with the business practices addressed in the fraudulent and unlawful prongs of the

                                           3    UCL, the unfair prong of the UCL cannot survive if the claims under the other two prongs of the UCL

                                           4    do not survive.” Hadley v. Kellogg Sales Co., 243 F. Supp. 3d 1074, 1104-05 (N.D. Cal. 2017).

                                           5             Second, Plaintiffs do not offer any well-pled facts to support their “unfair” prong, even under

                                           6    ordinary Rule 8 pleading standards. They assert that Cigna’s use of PxDx “offend[s] established public

                                           7    policy and cause[s] harm to consumers that greatly outweighs any benefit associated with those

                                           8    practices” (SAC ¶ 115), but these are nothing more than “threadbare recitals of the elements of a cause

                                           9    of action” that do not satisfy Rule 8. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Finally, Plaintiffs

                                           10   also allege that Cigna’s use of PxDx is unfair because it “constitute[s] a systematic breach of consumer

                                           11   contracts” (SAC ¶ 115)—but as explained supra at 11, Plaintiffs have not plausibly alleged any actual
MCDERMOTT WILL & EMERY LLP




                                           12   breach of contract here.
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13   IV.      ERISA Preempts Plaintiffs’ State-Law Claims.
                                           14            As the benefit plans of all four Plaintiffs show, all of them are subject to ERISA. (See Exs. B-

                                           15   F.) 7 Plaintiffs allege that Cigna’s use of PxDx amounted to improper processing of their claims, as a

                                           16   result of which they allegedly did not receive their covered benefits under their plans. (See, e.g., SAC

                                           17   ¶ 44 (alleging that Cigna “evade[d] the legally required process for reviewing [Plaintiffs’] claims”);

                                           18   id. ¶ 1 (alleging that Cigna’s use of PxDx was a “scheme” to “ultimately, [deny] the payments for

                                           19   necessary medical procedures owed to them under Cigna’s health insurance policies”).) Plaintiffs, in

                                           20   effect, complain that they did not receive the benefits they were due under their ERISA-governed

                                           21   plans. ERISA—which “provide[s] a uniform regulatory regime over employee benefit plans,” Aetna

                                           22   Health Inc. v. Davila, 542 U.S. 200, 208 (2004)—provides the exclusive framework for Plaintiffs to

                                           23   challenge such denials.

                                           24

                                           25

                                           26   7
                                                  Plaintiffs reference these plans (or “health insurance policies”) repeatedly throughout the complaint
                                           27   (see, e.g., SAC ¶ 1), and they all allege that they were “covered by a health insurance policy provided
                                                by the Cigna Defendants.” (Id. ¶¶ 13-16.) These plans are thus incorporated by reference into the
                                           28   SAC. See Lopez, 307 F. Supp. 3d at 1064.

                                                                                                  - 16 -
                                                    CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                    CASE NO. 2:23-CV-01477-DAD-KJN
                                                 Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 23 of 26


                                           1           To assess conflict (or defensive) preemption, courts disregard the “label affixed” to a state-law

                                           2    claim, and instead focus on its substance to determine if it is a disguised claim for ERISA benefits.

                                           3    Id. at 214. A state-law claim “relate[s] to” an employee benefit plan if it “has a reference to” or “an

                                           4    impermissible connection with ERISA plans.” Gobeille v. Liberty Mut. Ins. Co., 577 U.S. 312, 319-

                                           5    20 (2016). This impermissible connection can be shown “where the existence of an ERISA plan is a

                                           6    critical factor in establishing liability under a state cause of action,” in which case “the state law claim

                                           7    is preempted.” Wise, 600 F.3d at 1190. State-law claims are also preempted when they “govern[] . . . a

                                           8    central matter of plan administration or interfere[] with nationally uniform plan administration,”

                                           9    Gobeille, 577 U.S. at 319-20—and “payment of benefits” is, of course, “a central matter of plan

                                           10   administration.” Egelhoff v. Egelhoff ex rel. Breiner, 532 U.S. 141, 148 (2001); accord Rutledge v.

                                           11   Pharm. Care Mgmt. Ass’n, 592 U.S. 80, 86-87 (2020) (ERISA is “primarily concerned with pre-
MCDERMOTT WILL & EMERY LLP




                                           12   empting laws that require providers to structure benefit plans in particular ways, such as by requiring
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13   payment of specific benefits”).

                                           14          The uniform regulatory regime that ERISA envisions would collapse if plaintiffs could “obtain

                                           15   remedies under state law that Congress rejected in ERISA.” See Pilot Life Ins. Co. v. Dedeaux, 481

                                           16   U.S. 41, 54 (1987). That is why “any state-law cause of action that duplicates, supplements, or

                                           17   supplants the ERISA civil enforcement remedy conflicts with the clear congressional intent to make

                                           18   the ERISA remedy exclusive and is therefore pre-empted.” Davila, 542 U.S. at 209; Sarkisyan v.

                                           19   CIGNA Healthcare of Cal., Inc., 613 F. Supp. 2d 1199, 1208 (C.D. Cal. 2009) (“to the extent that

                                           20   Plaintiffs’ claims are intended to rectify a wrongful denial of benefits promised under an ERISA-

                                           21   regulated plan, and not to remedy a violation of a legal duty independent of ERISA, the claims are

                                           22   preempted.”); Gonzaba v. Bd. of Trs. of S. Cal. Const. Laborers, 2013 WL 1694602, at *1 (S.D. Cal.

                                           23   Apr. 18, 2013) (“common law claims seek[ing] to recover such benefits purportedly due” under an

                                           24   ERISA plan are preempted).

                                           25          There is no doubt that recovery of plan benefits is what Plaintiffs are seeking here. The premise

                                           26   of their lawsuit is that Cigna allegedly used PxDx to deny them “payments for necessary medical

                                           27   procedures owed to them under Cigna’s health insurance policies” (SAC ¶ 1)—i.e., payments

                                           28   allegedly owed under ERISA-governed benefit plans. And it doesn’t make a difference whether

                                                                                                   - 17 -
                                                 CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                 CASE NO. 2:23-CV-01477-DAD-KJN
                                                  Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 24 of 26


                                           1    Plaintiffs try to recover their plan benefits through a breach of contract claim, or on an unjust

                                           2    enrichment theory, or through the UCL—because the broad scope of ERISA preemption cannot be

                                           3    avoided that easily. See, e.g., Cleghorn v. Blue Shield of Cal., 408 F.3d 1222, 1225-26 (9th Cir. 2005)

                                           4    (finding UCL claim preempted where “[plaintiff] sought benefits under the plan and did not receive

                                           5    them” because “these are precisely the kind of claims that the Supreme Court in Davila held to be pre-

                                           6    empted”); Sarkisyan, 613 F. Supp. 2d at 1205 (finding various state-law claims, including UCL,

                                           7    preempted because “ERISA plainly preempts Plaintiffs’ claims to the extent that Plaintiffs seek redress

                                           8    for what they claim to be CIGNA’s wrongful denial of benefits to their daughter”).

                                           9           Finally, to the extent Plaintiffs may argue that they are also disputing the way that Cigna

                                           10   processed their claims—i.e., by allegedly using PxDx, and by Cigna’s medical directors allegedly not

                                           11   reviewing the claims in enough detail (see SAC ¶ 24)—that theory would also be preempted because
MCDERMOTT WILL & EMERY LLP




                                           12   ERISA is the “exclusive vehicle” for challenges based on “improper processing of a claim for
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13   benefits.” See Dedeaux, 481 U.S. at 51-52; Sarkisyan, 613 F. Supp. 2d at 1206 (finding Section 17200

                                           14   claim “based on Cigna’s alleged ‘improper claims handling practices’” preempted); Vang v. Geil

                                           15   Enters. Inc., 2023 WL 3168513, at *5 (E.D. Cal. Apr. 28, 2023) (finding claim based on “alleged

                                           16   improper withholding of benefits and the back dating [of] a notice required by law to be provided to

                                           17   [plaintiff]” preempted, “because these allegations are directly related to the administration of the

                                           18   [plan]”).

                                           19                                             CONCLUSION
                                           20          Cigna respectfully requests that the Court dismiss the complaint in its entirety.

                                           21   ///

                                           22   ///

                                           23   ///

                                           24   ///

                                           25   ///

                                           26   ///

                                           27   ///

                                           28   ///

                                                                                                 - 18 -
                                                 CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                 CASE NO. 2:23-CV-01477-DAD-KJN
                                                 Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 25 of 26


                                           1    Dated: February 1, 2024        Respectfully submitted,

                                           2
                                                                               By:     /s/ Dmitriy Tishyevich
                                           3                                          Dmitriy Tishyevich
                                           4                                          Joshua B. Simon (admitted pro hac vice)
                                                                                      Warren Haskel (admitted pro hac vice)
                                           5                                          Dmitriy Tishyevich (SBN 275766)
                                                                                      John J. Song (admitted pro hac vice)
                                           6                                          Chelsea Cosillos (admitted pro hac vice)
                                                                                      jsimon@mwe.com
                                           7                                          whaskel@mwe.com
                                                                                      dtishyevich@mwe.com
                                           8                                          jsong@mwe.com
                                                                                      ccosillios@mwe.com
                                           9                                          MCDERMOTT WILL & EMERY LLP
                                                                                      One Vanderbilt Avenue
                                           10                                         New York, NY 10017-3852
                                                                                      Telephone: (212) 547-5400
                                           11                                         Facsimile: (212) 547-5444
MCDERMOTT WILL & EMERY LLP




                                           12                                         William P. Donovan, Jr. (SBN 155881)
                        ATTORNEYS AT LAW




                                                                                      MCDERMOTT WILL & EMERY LLP
                          LOS ANGELES




                                           13                                         wdonovan@mwe.com
                                                                                      2049 Century Park East, Suite 3200
                                           14                                         Los Angeles, CA 90067-3206
                                                                                      Telephone: (310) 277-4110
                                           15                                         Facsimile: (310) 277-4730
                                                                                      wdonovan@mwe.com
                                           16
                                                                                      Attorneys for Defendants The Cigna Group
                                           17                                         (f/k/a Cigna Corporation) and Cigna Health and
                                                                                      Life Insurance Company
                                           18

                                           19

                                           20

                                           21

                                           22

                                           23

                                           24

                                           25

                                           26

                                           27

                                           28

                                                                                      - 19 -
                                                CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                CASE NO. 2:23-CV-01477-DAD-KJN
                                                 Case 2:23-cv-01477-DAD-KJN Document 28 Filed 02/01/24 Page 26 of 26


                                           1                                       CERTIFICATE OF SERVICE

                                           2           I hereby certify that on February 1, 2024, I electronically filed a true and correct copy of the

                                           3    foregoing document with the Clerk of the Court using the Court’s CM/ECF system, which will send

                                           4    notice of the filing to counsel of record.

                                           5
                                                                                                     /s/ Dmitriy Tishyevich
                                           6                                                         Dmitriy Tishyevich
                                           7

                                           8

                                           9

                                           10

                                           11
MCDERMOTT WILL & EMERY LLP




                                           12
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13

                                           14

                                           15

                                           16

                                           17

                                           18

                                           19

                                           20

                                           21

                                           22

                                           23

                                           24

                                           25

                                           26

                                           27

                                           28

                                                                                                - 20 -
                                                 CIGNA’S MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                                                 CASE NO. 2:23-CV-01477-DAD-KJN
